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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NEBRASKA

ANDREA GROVE, individually and on
behalf of similarly situated individuals; and
CHRYSTINA WINCHELL, individually and                          8:20CV193
on behalf of similarly situated individuals;

                     Plaintiffs,                             JUDGMENT

       vs.

MELTECH, Inc.; H&S CLUB OMAHA, INC.,
and SHANE HARRINGTON,

                     Defendants.


       Pursuant to the Memorandum and Order entered this date,

       IT IS ORDERED:

       1.     Judgment is entered in accordance with the Settlement Agreement (Filing

No. 253-1).

       2.     This action is dismissed with prejudice.

       Dated this 12th day of January 2022.

                                                BY THE COURT:

                                                s/ Joseph F. Bataillon
                                                Senior United States District Judge
